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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

    MYRA BROWN AND ALEXANDER
    TAYLOR,

         Plaintiffs,

    v.                                              No. 4:22-cv-908-P

    U.S. DEPARTMENT OF EDUCATION,
    ET AL.,

         Defendants.

                                   ORDER
      Before the Court is Plaintiffs’ Motion for Preliminary Injunction
   (ECF No. 3). Under Federal Rule of Civil Procedure 65, “[b]efore or after
   beginning the hearing on a motion for a preliminary injunction, the
   court may advance the trial on the merits and consolidate it with the
   hearing.” FED. R. CIV. P. 65.

         Having held a hearing on Plaintiffs’ Motion for Preliminary
   Injunction and reviewed the related briefing, the Court intends to
   consolidate as it appears that the Parties have presented their case and
   no evidence of significance would be forthcoming at trial. The Court
   ORDERS the Parties to file written objections to the Court advancing
   Plaintiffs’ Motion for Preliminary Injunction to a determination on the
   merits by November 4, 2022.

         SO ORDERED on this 2nd day of November 2022.




                       Mark T. Pittman
                       UNITED STATES DISTRICT JUDGE
